Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 1 of 31 PageID# 1712
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 2 of 31 PageID# 1713
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 3 of 31 PageID# 1714
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 4 of 31 PageID# 1715
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 5 of 31 PageID# 1716
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 6 of 31 PageID# 1717
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 7 of 31 PageID# 1718
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 8 of 31 PageID# 1719
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 9 of 31 PageID# 1720
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 10 of 31 PageID# 1721
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 11 of 31 PageID# 1722
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 12 of 31 PageID# 1723
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 13 of 31 PageID# 1724
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 14 of 31 PageID# 1725
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 15 of 31 PageID# 1726
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 16 of 31 PageID# 1727
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 17 of 31 PageID# 1728
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 18 of 31 PageID# 1729
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 19 of 31 PageID# 1730
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 20 of 31 PageID# 1731
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 21 of 31 PageID# 1732
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 22 of 31 PageID# 1733
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 23 of 31 PageID# 1734
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 24 of 31 PageID# 1735
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 25 of 31 PageID# 1736
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 26 of 31 PageID# 1737
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 27 of 31 PageID# 1738
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 28 of 31 PageID# 1739
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 29 of 31 PageID# 1740
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 30 of 31 PageID# 1741
Case 1:12-cr-00180-CMH Document 155 Filed 01/12/16 Page 31 of 31 PageID# 1742
